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VOLUME I
PAGES: 1 - 103
EXHIBITS: 1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO. 1:20-CV-10484-GAO

 

EDWARD SULLIVAN, HEATHER
SULLIVAN, DOE CHILD 1,
DOE CHILD 2, DOE CHILD 3 and
DOE CHILD 4,

Plaintiffs,

VS.

THE TOWN OF WALPOLE, MA.,
WALPOLE POLICE DEPARTMENT,
CHIEF JOHN F. CARMICHAEL,
JR., OFFICER ANDREW
KIEWLICZ, DET. MICHAEL
BENNER, DET. SGI. RICHARD
KELLEHER, OFFICER THOMAS
HART, DET. KYLE GRIFFIN,
OFFICER MATTHEW CROWN, AND
OTHER NAMES UNKNOWN TO THE
PLAINTIFFS AT THIS TIME,
WALPOLE SCHOOL DEPARTMENT,
VICE PRINCIPAL LER TOBEY,
AND OTHERS AS YET UNKNOWN TO
THE PLAINTIFFS,

Defendants.

 

REMOTE DEPOSITION OF HEATHER SULLIVAN, taken on
behalf of the Defendants, pursuant to the applicable
provisions of the Federal Rules of Civil Procedure,
appearing remotely before Ariane L. Baker, Certified
Shorthand Reporter and Notary Public within and for the
Commonwealth of Massachusetts, appearing remotely from
Plymouth County, Massachusetts, on February 25, 2022,
commencing at 10:05 a.m.

 

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1 Q. Okay. 1 name?
2 A. And so! got my mother, told my mother to go to 2 A. Tara Robinson.
3 get Tara. | said, Go get her, and I'm on my way home. 3 Q. Okay. And you said she lives in Plymouth?
4 Q. Okay. Do you recall what Gi said to you on the 4 A. She lives in Plymouth. Yes.
5 phone call — in the phone call? 5 Q. Okay. And was she working at the time?
6 A. She was hysterical. | couldn't tell you exactly 6 A. She was working at the time. Yes.
7 everything, except for that she was terrified and she 7 Q. What does she do for work?
8 thought something happened to -- She — First, she thought 8 A. She works at Manulife Investments.
9 everybody had died is what she was saying to us. She 9 Q. Okay. Is she in finance then or --
10 thought -- She said, They kept me here, and | don't know 10 A. Yes.
il what's going on; they won't let me leave. And she's like, D. Q. Okay. And then do you recall your conversations
12 | just called Gea. She calls my mother Gea. And she -- 12 with your sister Tara?
13 | said, I'm -- you know, I'm going to call her 13 A. Ijust— 1 had — | was at the train station. |
14 and have her go get you; I'm on my way home. 14 was about to hop on the train. | said, Just call mom, make
15 She didn't know what was going on. They didn't 15 sure she gets -- | can't remember if | texted my mother or
16 tell her anything. They just told her she had to stay in 16 told my mother to get"@a_| just remember saying -- She
ly her room and that she couldn't leave and not to use her LG, was the closest person to {j, and she — and @iiwas
18 phone. 18 hysterical. So | was just like, Can you get over there and
19 Q. Okay. And where was jj at that time? 19 get her? And I can't -- Then | told my sister that and
20 A. She was at her friend's house. 20 to - to get to Walpole.
21 Q. Okay. Do you remember -- Is it Greeley -- the 21 Q. Yeah. Okay.
22 Greeley's house? 22 A. That was the gist of the conversation.
23 A. Greeley. Yes. 23 Q. Sure. Yeah. I know. And I know I'm asking for
24 Q. Okay. And was that a friend of hers at the time? 24 kind of specifics, and you may not -- You know, | just want
Page 42 Page 44
i A. Atthe time, yes, they were friends. al to see what it is specifically you remember.
2 Q. Okay. Would she like go home on the bus with her 2 Do you remember approximately what time you were
3 then? Is that what she did? 3 at the train station in South Station?
4 A. She went home on the bus with her that day. Yes. 4 A. Probably about — around 4:30, 4:40, somewhere
5 Q. Okay. All right. And then did you speak to your 5 around there.
6 mother on the phone? 6 Q. Okay. And how long does it take you to get home
7 A. Ididn't. I'm not sure -- And I'd have to go 7 on the train?
8 back -- | can't -- My memory is not great. It was very 8 A. 45, 50 minutes.
9 chaotic at that point. | -- She texted me, | think, and 9 Q. Okay. When you get off the train or, actually,
10 then -- and then | talked to my sister, and I - | said, 10 when you were on the train, did you have any more phone
Ld you know, Call mom, have her get over there and -- And | 11 calls with anyone else?
12 was trying to get someone to get fare So | don't know if 12 A. Idid. Yes. My sister called my cousin, and he
13 | text her or told my mother that. I can't remember. And 13 called me.
14 then | talked to my sister and I said, You've got to get -- 14 Q. Okay. And who's your cousin?
15 She's in Plymouth. So | said, You've got to get up here L5 A. George Hardiman.
16 because we've got to get all the kids. | didn't know where 16 Q. Okay. And is he an attorney?
U7 the kids were. 17 A. Yes.
18 Q. Got it. Okay. And what's your mother's name? 18 Q. Okay. And is he someone that you are close with
19 A. Brenda O'Reilly. 19 or he's kind of just a family -- like a’ he's just a
20 Q. And is Brenda her — her legal first name or does 20 family member that you see just occasionally?
21 she go by a different name? 21 A. Close.
22 A. Her legal name is Madeline Brenda, but she goes 22 Q. Okay. And does George Hardiman also live in
23 by Brenda. 23 Walpole?
24 Q. Got it. Okay. And then what is your sister's 24 A. No, he does not.

 

 

 

 

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1 A. I didn't — No, we didn't send her over. I 1 phone; is that right?
2 didn't want to put her -- And she also had my daughter with 2 A. That's right.
3 her, and she was not doing well at the time. 3 Q. Okay. What's the next thing you remember
4 Q. Okay. All right. So you meet Greg at the 4 happening?
5 Walpole Police Station. And then what's the next thing 5 A. One of the detectives came out and brought Greg
6 that -- that happens? 6 and | into like an interview room.
7 A. Solmeet Greg. | meet him in the parking lot. 7 Q. Okay. Do you remember what detective did that?
8 We walk in together. He goes to check in to see if -- you 8 A. | believe it was Kelleher.
9 know, to find out what was going on. He checks in at the 9 Q. Okay. Sergeant Kelleher at the time?
10 front, and a couple minutes later, he comes over in the 10 A. Right.
11 lobby, and I'm -- you know, comes back, and we were just 11 Q. Did you talk to Sergeant Kelleher about anything?
12 talking, and | got a phone call from the police as | stood 12 A. He -- Greg asked him what was going -- you know,
L3 in the lobby. And then | said, Oh. And I showed him. And 13 trying to figure out what the story was, why they had
14 II said, Oh, they're calling me, as we were standing there. 14 Eddie, and things like that, and he said that Sile= ~
15 And then | got -- And | didn't answer because | was 15 GHB accused Eddie of punching her in the face --
16 standing right there, so | just -- And then they called us 16 Q. Okay.
Le. again and -- and I just -- and then someone came out and 17 A. -- something -- And I'm paraphrasing because |
18 around. And then | think once he checked in, they called 18 don't remember the exact words that he said, but it was --
19 me. 19 that was the gist of it, that(iigamiilm had said that Eddie
20 Q. Okay. 20 had done something. | said, QE said that? So that was
21 A. That was the first communication from anybody 21 my reaction to that. And | was like, you know, | don't --
22 about anything to me. 22 And then | -- You know, (iE —- Someone -- BIRD told
23 Q. When — How did you know the police were calling 23 somebody then. And | said, That doesn't make sense.
24 you? Did it pop up on your phone? 24 Q. Okay.
Page 50 Page 52
1 A. Yes. i A. That was sort of the gist of that conversation.
2 Q. Okay. Was it like Walpole Police Station or 2 It wasn't lengthy. It was just -- That was pretty much
3 something like that? 3 really it, and -- And, you know, Greg went to talk to
4 A. It's just the, yeah, number was -- And they said 4 Eddie. And so they -- So they tried to move forward with
5 that it was them. 5 that, and then we were trying to figure out where all the
6 Q. I guess I'm not - I'm not clear. Is it like -- 6 kids were and things like that.
7 Like 911 didn't call you, right? 7 Q. Right. Sergeant Kelleher didn't take a statement
8 A. No. 8 from you at that time; is that fair to say?
9 Q. It was like a telephone number? 9 A. That's fair.
10 A. Yeah. It was the Walpole Police. And, actually, 10 Q. Okay. And how long did you wait in that
11 if you go — if you like go on -- It's like the regular 11 interview room with Greg before you could talk to Eddie?
12 Walpole number. And | don't remember what the number was, 12 A. I'm not sure exactly the amount of time, and |
13 but it was — it was the police station. 13 never spoke with Eddie until much later. Just Greg was
14 Q. Yeah. That's fine. I'm just curious how you 14 allowed to speak with him. Greg -
15 recognized that number to be the Walpole Police Department 15 Q. Okay. I'm sorry. | didn't let you finish.
16 and not like some random number in Walpole. 16 A. Sorry. So they -- Greg ended up staying, and |
17 A. Right. Well, | think if you -- And I'll have to 17 ended up leaving, and there were a couple of other things
18 go back, but I'm pretty sure it -- it's the police — it's 18 that occurred while we were there to get the kids, because
19 the nonemergency, whatever that number is. 19 DCF at that point had been involved and was trying to --
20 Q. Yeah. 20 They were trying to interview everybody before -- before we
24 A. But, again, I'd have to like confirm the exact 21 could take them. And so we ended up talking to -- There
22 number. 22 was a Dave Skutul, | believe his name was, and he was
23 Q. Okay. All right. So Greg checked in; you get 23 there, and we spoke with him, Greg and I, and Kelleher was
24 those phone calls, and you don't talk to anyone on the 24 also still there, and he had just talked to everybody, and

 

 

 

 

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1 know, he felt it was awful and, you know -- And then he 1 or something like that, that he could get picked up or
2 told me, you know, what -- you know, what the police had 2 whatever.
3 said and what -- you know, whatever, why he was arrested 3 Q. Before | get to that, did you - At some point
4 and things like that. He had a few more details there. 4 while you were at your mother's house, did Dave call you to
5 And then -- And then I think that was -- that was it. He 5 do a - like a tour of your home or a visit of your home?
6 said, you know -- He's like, They're going to try to 6 A. Yes. Yes.
7 arraign him tomorrow and, you know -- And we talked about 7 Q. Okay. And did you go back to your home so that
8 that and, you know, where we had to be and what we had to 8 he could see the house?
9 do and things like that. 9 A. Idid. 1-1 drove over -- Yes. | drove over,
10 Q. Okay. Did Greg, at any point in time, interview 10 and Greg met us there, and we went in.
11 Shawna? 11. Q. Okay. And what did Dave do when he was there?
12 A. He talked to Si. | don't know — | don't 12 A. He came in. He walked around the first floor and
13 know -- Like interview? | mean, yeah, he spoke with 13 he opened our refrigerator and looked inside our
14 Shawna. 14 refrigerator, and | believe he looked -- We have a pantry,
15 Q. Okay. When Greg spoke to@@ii—, did you ask 15 like a -- like a closet. He peaked in there. And then he
16 everyone to go upstairs when he spoke to? 16 went upstairs and he looked in all of the -- our -- all of
17 A. We may have gone -- | don't recall -- | don't 17 the bedrooms. We have three bedrooms upstairs. He went in
18 recall if we all left. It's kind of -- The way my mother's 18 and looked at all the rooms and...
19 house is set up, it's pretty open. So | don't remember if 19 Q. Okay. Was he alone or did he have anyone else
20 they spoke like alone or... 20 with him?
21. Q. Okay. And were you present with GEG when Greg 21 A. He was alone.
22 spoke to her? 22 Q. Did he say anything to you when he was in your
23 A. |-—I[was there. | mean, I was in the house. | 23 house?
24 don't -- | don't - Honestly, | don't recall if | was right 24 A. He, again, told me that he didn't think my
Page 62 Page 64
1 with them or — There was a lot going on. 1 husband did anything and that (inaudible) --
2 Q. Okay. Did Greg explain to you what the 2 COURT REPORTER: They froze.
3 arraignment was going to look like? 8 THE WITNESS: I'm sorry?
4 A. Yes. 4 COURT REPORTER: You were frozen.
5 Q. What do you remember him saying? 5 THE WITNESS: Oh, sorry.
6 A. He said we had to be there. He said he'll — you 6 A. Yeah. He just -- He said that he didn't think my
7 know, he'll -- he'll get the police report and see what 7 husband had done it and that -- you know, that he did think
8 the -- you know, what that says. And then he said, you 8 that something had happened.
9 know, he'll, you know -- | don't know what they exactly -- 9 Q. Okay. And at that point in time, did you have
10 what he had to do to prepare to sort of help, you know, get 10 any suspicion or were you concerned that someone -- not in
11 through that. | honestly don't know what he -- what he was 11 your family, but someone else had hit qm?
12 doing, but he just said we had to be there and, you know, 12 A. No.
13 he's going to review the stuff and, you know, he was likely 13 Q. No. All right.
14 going to get arraigned and, you know — and then we'd have 14 So after Dave looked in your house, what's the
15 to go from there. 15 next thing you remember?
16 Q. Okay. What -- Were you there when bail was set 16 A. lwent back to my mother's. | couldn't pick up
17 for your husband? 17 Eddie until later. It was still early enough that we still
18 A. Yes. 18 had to wait. So then we were just trying to figure out who
19 Q. Okay. Can you tell me -- Was that after -- You 19 was going to pick Eddie up and who was going to take the
20 left your mother's house and you went back to the police 20 kids and how we were going to sort of figure all that out.
21 station? 21 Q. And what's the next thing that happened, that you
22 A. Yeah. I stayed — Yeah. | stayed at my mother's 22 remember?
23 for a little while. They told - Eddie called and said 23 A. Then I think my mother kept -- maybe went over
24 that -- | want to say they said that not until like 11:30 24 with the kids and -- | don't remember exactly. And then my

 

 

 

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1 sister and | went and picked Eddie up later. And then 1 in the morning, what's the next thing that happens, that
2 Eddie had to stay -- It was on the whatever -- the police 2 you remember?
3 form, whatever. | don't know what they call those forms or 3 A. So in the morning, | -- | -- You know, of course
4 whatever, when I had to post bail for him, and said that he 4 | don't know how to navigate this, so I'm thinking the best
5 couldn't go back to the house. 5 thing for the boys, which is probably a mistake, was to
6 Q. Okay. 6 send them to school and try to keep everything sort of, you
7 A. So he --|-- We -- | had my sister go grab the 7 know, routine for them. So | had them go to school. And
8 kids, and then Eddie stayed with my mom, and then | went 8 then Qiawas so upset, she couldn't go to school. So my
9 back with the kids. 9 sister came back and she stayed with a. And | went --
10 Q. Okay. And did anything else happen -- You went 10 And QP stayed home. And | went with Eddie to the
11 back to your house then after that? 11 arraignment.
12 A. Idid. Yes. 12 Q. Okay. And QR -- QA went with you, right,
13 Q. Okay. Did anything else happen back at the 13 to the arraignment?
14 house, that you remember? 14 A. She did not. She was with my sister, and she
15 A. Well, yeah. | mean, | don’t know what -- It was 15 came later.
16 awful. It was the worst probably night of my kids’ lives. 16 Q. Gotit. Okay. Tara brough ama to the
17 Q. Were your children pretty upset? 17 arraignment later that day?
18 A. Yeah. All three of them. All four of them. My 18 A. That's right.
19 oldest daughter — All of us were up in my room, and there 19 Q. Okay. So you got there early then for the
20 was a lot of crying and there was a — Like it was a 20 arraignment?
21 disaster. And then three out of my four kids slept in the 21 A. Yes.
22 bed with me the entire night, and it was -- You know, when 22 Q. Okay. Do you recall what time you got to the
23 they finally got to sleep, it was just -- | mean, | was 23 arraignment?
24 thankful that they fell asleep, but it was -- it was -- it 24 A. I don't recall exactly when --
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1, was awful. And | stayed up and just watched them sleep. 1 Q. Okay.
2 Q. Were you texting your husband at all during that 2 A. -- or what time it was.
3 time? 3 Q. Okay. And what happened when you got to the
4 A. I don't -- | think | may have texted him early, 4 courthouse, that you remember?
5 and then that was sort of -- He was — It was awful for 5 A. We met -- We met my cousin and we went in, and he
6 him, and he had a terrible, awful day. And, you know, for 6 had to get the police report, and that's what he did, and
7 someone who's a -- who's a veteran to say that it was one 7 we waited with him, and then we went into a room and
8 of the worst days of his life, it's -- that's -- I think 8 basically spent the morning in a room.
9 that says a lot. And he had -- It was awful. And the way 9 Q. Okay. And at that point in time, did Greg tell
10 he cares for his family and his children and how much it -- 10 you what to expect about the arraignment?
11 for him to go through what he went through, he tried to Ld A. Yeah. He said that they're going to go --
12 sleep and he -- | don't even -- | don't even know. He -- | 12 they're going to arraign Eddie and that, you know, we're
13 think he slept for a couple hours. He was up so early just 13 going to have to figure out what we're going to do from
14 waiting for the next day. He didn't even know what he 14 here, and he's looking at the police report and, you
15 was ~- what was going to happen next. 15 know -- It wasn't a lot, aside from that -- that the
16 Q. You said your husband's a veteran. What branch 16 arraignment was going to happen.
17 of the military did he serve in? 17 Q. Okay. At that point in time, had you paid Greg
18 A. Army. 18 to represent your husband?
19 Q. Okay. Did he just do four years or was he there 19 A. No.
20 longer? 20 Q. Okay. Did you have to sign any retainer
21 A. He did four. It was in '91, that - that time 21 agreements or anything with Greg?
22 frame. 22 A. No.
23 Q. Okay. All right. So then what's the -- In the 23 Q. Okay. And do you know if -- Well, at some point
24 morning then when -- | know you said you didn't sleep, but 24 in time, did GBB come join you in that room?

 

 

 

 

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1 don't know all the legal terminology of how they moved the 1 not be what -- I'm pretty sure it's Jack Green. And it
2 things and what was done. | just know that there were some 2 does not surprise me that Eddie wasn't sure of the name.
3 stipulations for 33 days until we had to go back, and Eddie 3 Q. Okay. So you said that Greg said that it was
4 couldn't be with his children by himself. 4 good that there was a conflict and that he was going to
5 Q. Okay. You said that there were a few 5 refer you to another attorney?
6 stipulations. What do you mean by that? What were the 6 A. He didn't say -- I'm sorry. He didn't -- That it
7 stipulations? 7 was good that there was a conflict?
8 A. Well, no. I guess -- Not a few. | guess it's —- 8 Q. | thought you said that it was good, like he was
9 The stipulation was that he can't be alone with his 9 getting more time?
10 children until the next court date. 10 A. No. No. Sorry. | think you might have
1. Q. Okay. Do you recall anyone ever telling you that 11 misunderstood. No. He didn't tell me that there was a
12 there was a conflict of interest? 12 conflict right then. That - That wasn't -- That was
13 A. The -- For -- I'm sorry. For what? 13 later. | don't even know when I -- | made -- | was made
14 Q. Yeah. There was a -- There was a conflict of 14 aware of that right away.
15 interest because your cousin Greg was involved in the case. L5 Q. Okay. Were you frustrated that you had to wait
16 Did you ever hear anyone talk about that? 16 33 days until this could be more fully resolved?
17 A. Yeah. So Greg actually said, you know, Listen, 17 A. | wasn't -- | wouldn't say, yeah, | was
18 this is good that -- I'm going to refer you, and he gave us 18 frustrated. | think that the whole ordeal was frustrating.
19 another attorney to use. 19 I think -- | wouldn't say that we had to wait 33 days to
20 Q. Okay. And who was the other attorney? 20 get to the -- to the -- to resolve this. That wasn't
21 A. Jack Green. 21 the -- The 33 days that my husband had to not be near his
22 Q. Okay. 22 kids by himself was what we had more issue with, but it was
23 A. | believe that -- And | have to -- Again, this is 23 something that we worked through. And although it was
24 all from memory. I'm not looking at any of my notes, and | 24 difficult for everybody, we, again, came out on the other
Page 74 Page 76
1 should have had all — for the names and -- 1 side of it and we were able to manage through it. But I
2 Q. Yeah. | don't have them. | requested them, but 2 wasn't frustrated. | think | was -- This whole thing is
3 I still don't have them. 3 upsetting and wrong and, you know -- And, again, this is my
4 A. Have what? 4 experience and my opinion on all of this that's happened,
5 Q. Your notes. 5 that | sat through it. And my job is to care for, protect,
6 A. My notes? 6 and love my family. And guess what? When everybody's
7 Q. Yeah. 7 hurting like this and because it's -- something very, very
8 A. Okay. | have a few notes, yeah, if you -- Yeah. 8 wrong happened, | don't know that I'd use frustrated. |
9 I guess we could get the notes. But, yeah, | have his -- 9 would say more just, you know what, we're going to get to
10 all the names and things like that written down. 10 the other side of this and it's going to be -- it should be
a Q. Okay. 11 the right thing at that point, and that's what -- that's
12 A. But, again, I'm pretty sure it was Jack Green 12 what -- Those 33 days, | knew we were going to get to the
13 and -- And, actually, | have some of the notes, but | want 13 other side of it. So there was a lot of like trying to
14 to stay focused on all the questions, so - Rather than be 14 figure it out, how to make sure my kids were going to be
15 flipping through notes, I'd rather just... 15 okay, how to make sure Eddie was going to be okay, and how
16 Q. Sol have two different names for your husband's 16 to make sure that nothing else happened to them.
17 lawyer. | have — You're telling me he's an 17 Q. Okay. So is it your understanding that the
18 Attorney Green, and your husband's telling me 18 arraignment was continued 33 days because there was some
19 Attorney Kelley. So | actually have no idea who -- And 19 sort of conflict, but you're not sure what it is -- what it
20 that person's name is not written on any of the court 20 was?
21 documents. So | don't know who that person is. Do you 21 A. I'm not sure exactly how the whole -- Again,
22 have that person's name in front of you in your note -- if 22 legally, | don't -- | don't know exactly. | just knew that
23 you could — 23 that happened.
24 A. | don't have it in this note. | have -- That may 24 Q. Okay.

 

 

 

 

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1 A. | don't know what the time frame was when | knew 1 (Brief break.)
2 that there was some conflict, and then Greg immediately 2 BY MS. DAVIS:
3 provided someone else that we could use for Eddie. 3 Q. Okay. So then the other thing | wanted to ask,
4 Q. Okay. 4 Mrs. Sullivan, is did Greg ever mention having GR
5 A. Sol don't have -- | don't know the timing of it 5 interviewed like -- doing a forensic interview?
6 exactly, but | know that, you know, we worked through -- 6 A. | don't -- | don't recall if that -- Yeah. I'm
7 You know, | went to Greg because he's, you know, my family 7 not sure.
8 and -- 8 Q. Okay. Like having like a third party -- that's
9 Q. Sure. 9 not with the police —- do an interview with QE Did he
10 A. -- and he had that, you know -- He's an attorney, 10 ever mention something like that?
11 so he could help us. 11 A. | don't know that he mentioned that to me. No.
12 Q. Yeah. 12 | do remember he -- like that that could happen. | don't
13 A. But then immediately, we figured -- You know, 13 think that it was Greg that mentioned that to me.
14 right when we got through the immediate urgent sort of 14 Q. Okay. You're not sure who mentioned it to you,
15 stuff that we were dealing with, Greg was like, This is 15 though?
16 what we need to do. And, you know, then we got, | believe, 16 A. No. But! -- No, | don't. No. But! do - Now
17 this Jack Green. 17 that you say -- | -- And, again, my memory isn't perfect on
18 Q. Okay. Did Greg ever say that it was strange that 18 all of this, so | - | can't remember exactly where | heard
19 your husband was not arraigned that day? 19 that.
20 A. That it was strange? 20 Q. Okay. And do you recall if Greg ever said that
2a Q. Yeah. 21 they were going to try and get a different district
22 A. I don't believe he said it was strange. No. 22 attorney to handle the case?
23 Q. Did you ever pay Greg for his representation? 23 A. No. | don't -- | don't think so.
24 A. I think we tried. I'm not sure that he ever took 24 Q. Okay. After the arraignment was continued,
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i any money. 1 what's the next -- Did you take Chaviiaic the pediatrician?
2 Q. Okay. 2 Is that the next thing that happened?
3 A. But! think we tried just because, you know, | 3 A. Yes. That day. We actually didn't even -- |
4 mean -- 4 don't even think | went in my house. We were in the
5 Q. Sure. 5 driveway when we got back, and | called, and we made the
6 A. -- for obvious reasons. You know, like he's, you 6 appointment, and we went right in.
7 know, helping us. He didn't feel like -- He's my cousin, 7 Q. Okay. Is that something that Greg suggested that
8 so it's -- There's -- You know, he -- he was helping us in 8 you do?
9 two ways throughout this whole thing. So, yeah, I'd have 9 A. No. | actually asked him — In fact, | -- Before
10 to look back. I know we tried. 10 we left the parking lot, | said, | want to take her to the
11 Q. Okay. Maybe he refused because you're family and 11 pediatrician.
12 he said, No, I'm not taking your money? 12 And he's like, Yeah. No. We should do that.
13 A. There was a lot of that. Yeah. Sorry. 13 Q. Okay. All right. SoM goes to the
14 Q. That's all right. At any point in time, did you 14 pediatrician. And were you in the room for her exam?
15 discuss with him having him represent aS for anything? 15 A. No.
16 A. Yeah. So -- Well, he -- Well, not specifically. 16 Q. Okay. What's the next thing that you remember
17 He said, | think, that -- that he -- that due to the 17 happening that day?
18 conflict -- And | think it -- | don't know -- But that he 18 A. That day. We were there for a little while
19 can -- he could still sort of represent the family, but not 19 because we ended up — The appointment we got wasn't with
20 Eddie. 20 her primary. It was with someone else in the office. And
21 Q. Okay. 21 then we ended up talking to him because he saw us or
22 MR. GRIFFIN: Katie, can we just take 22 whatever. So | don't even know how long we were there.
23 five? 23. Then we got back. The boys must have been coming home at
24 MS. DAVIS: Sure. 24 that point. | don't remember what -- | mean, the only

 

 

 

 

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1 other thing that I can think of related that wasn't -- is a there anything that -- anything else happen at school with
2 maybe Eddie got a call from -- Because he went outside to 2 GQ relative to your husband's arrest?
3 take it from the head of the soccer, and they told him that 3 A. Not that I'm aware of. No. | think -- | don't
4 he couldn't coach anymore. 4 know if the kids behaved any better or worse. | don't -- |
5 Q. Okay. Did you go to work that Friday, I guess, 5 don't exactly know specifics at that time. | think she was
6 the day after the arraignment? 6 uncomfortable going to school, but | don't -- I'm not sure
u A. I think so. I'd have to look -- | think so. | 7 if there was any other, you know, incidents there.
8 think | went back. 8 Q. Okay. And then the arraignment got continued to
9 Q. All right. While you were waiting for the 9 November 28th, 2018; does that sound correct?
10 arraignment, did anything -- were you ever contacted again 10 A. Yes.
11 by anyone from DCF or from the police department? 11 Q. Okay. Were you present for the arraignment?
12 A. DCF called after the arraignment. That Dave 12 A. lwas.
13 person called me, but that was -- And I talked to him 13 Q. And what happened at the arraignment, that you
14 quickly, and that was it. | don't - | don't remember him 14 remember?
15 calling again. 15 A. They -- | don't know what they called it, but
16 Q. Okay. Do you remember what he called about? 16 they dismissed it or whatever. He didn't get arraigned.
L7 A. He said that — that we'd receive a report that 17 Q. Okay. And who was the attorney that your husband
18 the case was being closed and, you know -- And then I don't 18 had at the time?
19 remember what else. But that was basically the gist of 19 A. It was Green.
20 the -- What | took from the conversation was that that 20 Q. Green. Okay.
21 report was going to be -- he was writing it up and it was 21 A. And I'll have to - I'll confirm that it was
22 closed. 22 Green. He was -- He had spoken -- That's who he had been
23 Q. Okay. You said earlier that you had spoken to 23 dealing with.
24 Reb out the text about moving Bins bed. Do you 24 Q. Okay. Got it. And did you pay Attorney Green?
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1 remember what she said about sending that text message to i A. Wedid. Yes.
2 move Gis bed? 2 Q. Do you know how much you paid him?
3 A. She said that she thought that something hit her 3 A. I'll have to confirm it. I don't know. A few
4 at night, right, when she was sleeping. And this is -- She 4 thousand dollars maybe.
5 said that she was -- thought it was either him jumping off 5 Q. Okay. And did you have a retainer agreement with
6 the bed and maybe he kicked her or he kicked the water 6 him? Do you know?
7 bottle. She said she was half asleep, you know, and it was id A. I know we signed something. | have to - I'd
8 in the middle of the night. But that was the conversation 8 have to go back and look at the records. So I'll have to
9 that we had about it, and that's why she sent the text that 9 confirm that.
10 day saying let's just move the bed, because she -- you 10 Q. Okay. Got it. And did anyone from the
11 know, she felt like the girl at school was questioning her 11 neighborhood ever approach you about your husband being
12 about something that was -- you know, seemed -- At the 12 arrested?
13 time, Giwes like, | don't understand why she's, you 13 A. Not -- Nobody approached me directly. No.
14 know -- And these are girls that -- You know, they refer to 14 Q. Okay. Did SP vother ever approach
15 her as her friend. They weren't friends. So I think she 15 you?
16 had said that to her, and she was uncomfortable, and | 16 A. @ae mother?
Lg think she was like — You know, as a teenager, she's like, 17 Q. Yeah.
18 Well, what can | -- You know, she's trying to figure out a 18 A. Tim's -- Detective Sullivan, his mother?
19 way to avoid that. 19 Q. I'msorry. Yes. Solshawam said something about
20 Q. Allright. And then what's the next thing that 20 his mother talking to you about some -- about some comment
21 you recall happening between then and the arraignment about 21 that was made.
22 this particular case? 22 A. Oh. Oh, I'm sorry. So Tim's -- So my friend
23 A. I'm sorry. | don't know what you mean. 23 Jen Sullivan, her husband's name is Tim, and then her
24 Q. Sure. | can be a little more specific. Was 24 son's (ip So Shaws must have been talking about young

 

 

 

 

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1 Q. Okay. 1 MS. DAVIS: So I'm going to mark this
2 A. ButI don't take any medicine for it or whatever. 2 as Exhibit 1.
3 1 - You know, I can - You know, I manage to get enough 3 Q. This is your -- the Answers to the
4 sleep to... 4 Interrogatories and the -- my request for documents. I'm
5 Q. Okay. And do you have any nightmares reliving 2 just going to scroll down to your signature page here. I'm
6 the day of your husband's arrest? 6 on Page 8 of a PDF. It's 46 pages. Is this your signature
7 A. No. | think we've all tried to push it aside. 7 here?
8 You know, | think these last few weeks with this -- all 8 A. I'msorry. | can't see it.
9 this going on, you know, it's a lot. Like | went through a 9 MR. GRIFFIN: We can't see it, Katie.
10 couple of notes and, you know, | couldn't even look at 10 BY MS. DAVIS:
11 them. | had to put them away kind of thing. So yeah. No. aol Q. You can't see this?
12 You know, it's still, you know -- We -- We're trying to 12 A. No.
13 work through it. The girls -- You know, | -- To be -- You 13 MR. GRIFFIN: No. It was up there a
14 know, really, I'm -- They're never going to be the same 14 minute ago.
15 after this. There's like before and after. And, you 15 BY MS. DAVIS:
16 know -- And I think that, you know, we're going to continue 16 Q. Okay. Can you see it now?
17 to work and get back to a good place, but, you know, it's 17 A. Yes.
18 challenging, especially -- geez, especially with the girls 18 MR. GRIFFIN: There you go.
19 that age and with their already - You know, it's high 19 BY MS. DAVIS:
20 school, young, you know, adolescence. It's a tough time 20 Q. Okay. So I'm on Page 8 of 46. Is that your
21 anyway in this world with, you know, everything going on. 21 signature?
22 And, you know, | just think it's just, you know -- 22 A. Yes.
23 Especially my daughter far, she -- you know, with her 23 Q. And do you recall reviewing these interrogatory
24 anxiety, you know, she's really struggling. She 24 responses with your attorney?
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1 couldn't - You know, we really -- It's -- This has been 1 A. Yes.
2 very impactful for her too. And, you know Si she's 2 Q. Okay. There's a number of individuals that are
3 gone off to college, and | think it was the best thing in 3 named as defendants in this case. | know you said that
4 the world because it's almost like starting fresh. So, 4 earlier you had interacted with Sergeant Kelleher when he
5 yeah, I mean, it continues just to be a challenge. 5 brought you to this small interview room with Greg. Other
6 Q. Speaking oni, have you spoken to WR about 6 than him, have you had any personal interaction with any of
7 her deposition? 7 the named defendants in this case? I'll go through it.
8 A. Yeah. I'm not sure that -- | don't think she's 8 Have you interacted with former Chief Carmichael?
9 capable of doing it. She's -- Even now -- In fact, today 9 A. Ihave not interacted with him.
10 I'm making an appointment for her because she's having like 10 Q. Okay. And then Officer Andrew Kiewlicz?
il really severe stomach issues. She's physically ill with 11 A. No.
12 all this going on now, so | just -- | don’t think she can 12 Q. Okay. Detective Benner?
13 handle it. 13 A. No.
14 Q. Okay. All right. And there's some documents 14 Q. Officer Hart?
15 that your attorney provided. | just want to pull them up 15 A. Hart, he's the resource — the youth officer, so
16 briefly. 16 I've seen him. | wouldn't say I've interacted with him.
17 MS. DAVIS: I'm just going to mark this 17 \@§- He was maybe an assistant coach or somehow with
18 as Exhibit 1. 18 the football, but | wouldn't -- | -- Outside of that, just
19 Q. These are your responses to my interrogatories 19 the face.
20 and my request for production. This -- Just skim down or 20 Q. Okay. Detective Griffin?
21. scroll down -- | apologize -- to -- Let's see. One second. 21 A. No.
22 Sorry. There's a signature page. I'm sorry. | don't mean 22 Q. Okay. Officer Crown?
23 to make you dizzy here. So Page 16 — No. That's not it. 23 A. No.
24 One second. I'm sorry. | think | have the wrong one up. 24 Q. And then did you speak to Vice Principal

 

 

 

 

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